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 8                          UNITED STATES DISTRICT COURT
 9          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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     MASIS BAGDASARYAN, an               Case No. 14-06691-SJO (VBKx)
11   individual; VERZHIN
12
     BAGDASARYAN, an individual;         JUDGMENT
     MASIS BAGDASARYAN as
13   Trustee of the MASIS AND            Trial Dates: June 20, 2017-June 23, 2017
     VERZHIN BAGDASARYAN                 Ctrm: 10C
14   TRUST,
                                         Assigned to: Honorable S. James Otero
15             Plaintiff,
16     v.
17   BAYVIEW LOAN SERVICING,
18   LLC; M&T BANK; and DOES 1
     through 10, inclusive,
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20             Defendants.
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28                                    JUDGMENT
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 1         From June 20, 2017 through June 23, 2017, this Court presided over a Jury
 2   Trial involving the following claims by the Plaintiffs: (1) violations of the Fair
 3   Debt Collection Practices Act (“FDCPA”) against Defendants Bayview Loan
 4   Servicing, LLC (“Bayview”) and M&T Bank (“M&T”; together, the
 5   “Defendants”); (2) violations of the Rosenthal Fair Debt Collection Practices Act
 6   (“Rosenthal Act”) against the Defendants; (3) fraud against Bayview; and (4)
 7   violations of the unfair competition law (“UCL”) against the Defendants.
 8         Witnesses were sworn and testified. Evidence was received by the jury.
 9   Arguments by Defendants’ counsel and by Mr. Bagdasaryan were also received by
10   the jury.
11         On June 21, 2017, Defendants filed a Motion for Judgment as a Matter of
12   Law (“Motion”) pursuant to Federal Rule of Civil Procedure 50(a)(1). (ECF No.
13   301.) In the Motion, the Defendants moved for judgment as a matter of law on
14   Plaintiffs’ FDCPA claim and fraud claim.
15         On June 22, 2017, the Court initially denied the Motion in its entirety. (ECF
16   No. 306.)
17         On June 23, 2017, the Court reconsidered the Motion and found that the
18   Plaintiffs submitted no evidence, during their case in chief, that any alleged
19   fraudulent conduct was ratified by an officer, director, or managing agent of
20   Bayview. (ECF No. 307.) As a result, the Court granted the Motion as to the fraud
21   claim and denied it as to the FDCPA claim. (Id.)
22         On June 23, 2017, the jury returned a unanimous verdict for the Defendants
23   on the FDCPA, Rosenthal Act, and UCL claims. (ECF No. 315.)
24         The Court confirmed the jury’s UCL verdict, concluding that there was no
25   evidence to support any unlawful, unfair, or fraudulent business practices by the
26   Defendants.
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                                        JUDGMENT
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 1   ACCORDINGLY, THE COURT HEREBY ENTERS JUDGMENT FOR
 2   DEFENDANTS AS FOLLOWS:
 3         1.    Plaintiffs’ claims are dismissed with prejudice;
 4         2.    Pursuant to Federal Rule of Civil Procedure 58, Plaintiffs shall take
 5               nothing and Judgment is hereby entered in favor of Defendants;
 6         3.    Pursuant to Federal Rule of Civil Procedure 54(d)(1), Defendants, as
 7               the prevailing party, may recover their costs of suit taxed in this matter
 8               from Plaintiffs; and
 9         4.    Pursuant to Federal Rule of Civil Procedure 54(d)(2) and L.R. 54-10,
10               any motions or applications for attorneys’ fees shall be served and
11               filed within fourteen (14) days after the entry of this Judgment.
12   IT IS ORDERED AND ADJUDGED THAT THE ABOVE JUDGMENT BE
13   ENTERED BY THE CLERK.
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15   Dated: June 30, 2017.
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17                                   UNITED STATES DISTRICT JUDGE OTERO
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                                         JUDGMENT
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